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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DIST
for the

Eastern District of Virginia

  

 

United States of America
Vv.
Case No.

1:19-mj-297

JAMES P. PHIPPS

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 11, 2018 in the county of * (see note below) in the

Eastern District of Virginia and elsewhere, the defendant(s) violated:

 

Code Section Offense Description

18 U.S.C. § 113(a)(5) Assault aboard a nonstop aircraft in flight on or about May 11, 2078 from
Washington Dulles International Airport in Dulles, Virginia, located within the
Eastern District of Virginia, to London Heathrow Airport.

* The offense occurred within the special maritime and territorial jurisdiction
of the United States

This criminal complaint is based on these facts:

See attached affidavit.

@% Continued on the attached sheet.

 

SAUSA Anthony Mariano/AUSA Raj Parekh

BI Special Agent Jeffrey Fuller

 

Printed name and title

Sworn to before me and signed in my presence.

Date: July 1, 2019

City and state: Alexandria, VA NOD /s/

“Yvan D. Davis
United States Magistrate Judge

 
